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          IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                 8:07CR99
                              )
          v.                  )
                              )
EDGAR CABRERA,                )                      ORDER
                              )
               Defendant.     )
______________________________)


          This matter is before the Court on defendant’s motion

to restrict (Filing No. 53).       The Court finds said motion should

be granted.   Accordingly,

          IT IS ORDERED that defendant’s motion is granted;

defendant may file his sentencing memorandum as a restricted

document pursuant to the E-Government Act.

          DATED this 2nd day of January, 2008.

                                   BY THE COURT:

                                   /s/ Lyle E. Strom
                                   ______________________________
                                     LYLE E. STROM, Senior Judge
                                     United States District Court
